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IN THE UNITED STATES DISTRICT
COURT FOR THE NORTHERN DISTRICT
OFTEXAS DALLAS DIVISION

MARK O’BRIANT AND GINA
O’BRIANT,
Plaintl]fs,

V CIVILACTION NO.

SAFECO INSURANCE COMPANY

OF INDIANA,CHRISTOPHER

OETTING, JOSEPH REKART,

AND MARIA CORDERO
Defendants.

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DEFENDANTS SAFECO INSURANCE COMPANY OF
INDIANA, CHRISTOPHER OETTING AND
JOSEPH REKART’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:
Defendants Safeco Insurance Company of Indiana ("Safeco"), Christopher Oetting
(Oetting) and Joseph Rekart (“Rekart”) files this Notice of Removal under 28 U.S.C. §§ 1332,

1441, and 1446 and states as follows:

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1. Plaintiffs Mark O’Briant and Gina O’Briant ("Plaintiffs') commenced this
lawsuit on August 31, 2017, by filing Plaintiffs’ Original Petition ("Petition") in the 14th
District Court of Dallas County,TeXas.

2. Plaintiffs’ Petition names Safeco Insurance Cornpany 0f Indiana ("Safeco")
Christopher Oetting (Oetting), Joseph Rekart (“Rekart”) and Maria Cordero (Cordero) as
Defendants. Oetting, Rekart and Cordero Were adjusters assigned to Plaintiffs’ insurance claim

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made the basis of thislawsuit.
3. Plaintiffs’ Petition includes the following causes of action against both Safeco

and Oetting and Rekart:

° Violations of the DTPA;

’ Unfair Settlement Practices under §541.060(a) of the Texas Insurance Code;

° Prompt Payment of Claims violations under Chapter 542 of the Texas
Insurance Code; and

° Breach of the common law duty of good faith and fair dealing1

4. Cordero has not been served with Plaintiffs’ Petition. Safeco was served with
Plaintiffs Petition on September 8, 2017. Rekart was served with Plaintiffs Petition on September
12, 2017. Oetting was served with Plaintiffs Petition.

5. Safeco, Rekart and Oetting files this Notice within the 3()-day time period required
by 28 U.S.C. § 1446(b).

6. Oetting, Rekart and Cordero need not consent to removal as Safeco contends that
Oetting, Rekart and Cordero were improperly joined. However, to the extent necessary, Oetting,
Rekart consents to this Notice of Removal as the undersigned attorneys represent both Safeco,
Oetting, Rekart.

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7. Venue is proper in this District under 28 U.S.C. § 144l(a) because the state court
where the action is pending is located in this District.

8. Removal is proper under 28 U.S.C. § 1332(a) if there is complete diversity between
the parties and the amount in controversy exceeds $75,000, exclusive of interest, costs and

attorneys’ fees. These two conditions are satisfied in this matter.

 

9. Plaintiffs are citizens of Texas for purposes of diversity of citizenship.

 

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1 See Plaintiff’s Petition p.l).

10. Safeco is an insurance carrier organized under the laws of the State of Indiana
with its principal place of business in Boston, Massachusetts. Safeco is a citizen of Massachusetts
for diversity jurisdiction purposes.

11. Rekart is a resident of the State of Texas and has been improperly joined to
defeat this Court’s diversity jurisdiction. Oetting and Cordero are not residents of the State of
Texas and have been improperly joined to defendant this Court’s diversity jurisdiction.
Plaintiffs do not have a reasonable possibility of recovery from Rekart, Oetting and Cordero in
this lawsuit. Rekart, Oetting and Cordero’s citizenship should therefore be disregarded for
jurisdictional purposes, and complete diversity of citizenship exists between Plaintiffs and
Safeco (now and on the date Plaintiffs filed this lawsuit).

(i) Plaintiffs improperly joined Oetting, Rekart and Cordero to defeat this
Court's diversity jurisdiction.

12. Defendant such as Oetting, Rekart and Cordero are improperly joined when there
is (1) actual fraud in the pleading of jurisdictional facts, or (2) the plaintiffs are unable to
establish a cause of action against the non-diverse defendants2 This second condition is met

when there is no reasonable possibility that the plaintiffs might recover against the improperly-
joined in-state defendants.3 A "reasonable possibility" is more than a mere hypothetical

possibility that an action against the non-diverse defendants could exist.4

13. Per the Fifth Circuit, the improper joinder analysis requires an examination o f
Plaintiffs Petition under the Federal pleading standard.5 This requires Plaintiffs to plead

2 Smallwood. v /ll. Cent. RR Co., 385 F.3d 568,573 (Sth Cir. 2004) (en bane).
3 See id.
4 See Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (Sth Cir. 1999).

5 See Int'/ Energy Ventures Mgmt., L.L.C. v. United Energy Grp., Ltd, 818 F.3d 193, 200-08 (Sth Cir. 2016)
("And, because Smallwood requires us to use the Rule 12(b)(6)-type analysis, we have no choice but to apply
the federal pleading standard embodied in that analysis."); see also Petree v. Metro Lloyds Ins. Co. of Texas,
2016 WL 3095092, at *2 (N.D. Tex. June 2, 2016) ("Although there has been some uncertainty as to the
pleading standard to be applied, the Fifth Circuit has most recently held that federal courts should use the

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enough facts to State a claim to relief that is plausible on its face."6 Stated differently, Plaintiffs
Petition must include "more than labels and conclusions, and a formulaic recitation of the
elements of a cause of action will not do."7
14. As set forth below, Plaintiffs Petition fails to demonstrate a reasonable
possibility of recovery against Rekart, Oetting and Cordero in this lawsuit. Each cause of
action asserted against Rekart, Oetting and Cordero only details a speculative and hypothetical
right to recovery.

(ii) Plaintiffs have no reasonable possibility of recovery against 0etting, Rekart
and Cordero for violations of Chapter541 of the Texas Insurance Code.

15. Plaintiffs Petition alleges that Rekart, Oetting and Cordero committed the
following violations of Section 541.060(a) of the Texas Insurance Code:

° Section 541.060(a)(l) - misrepresenting a material fact or policy provision
related to coverage;

° Section 541.060(a)(2)(A) - failing to attempt in good faith to effectuate a
prompt, fair, and equitable settlement of a claim with respect to which the
insurer's liability has become reasonably clear;

° Section 541.060(a)(3) - failing to promptly provide a policyholder with a
reasonable explanation of the basis for the insured's denial of a claim;

° Section 541.060(a)(4) - failing to affirm or deny coverage in a reasonable time;
and

' Section 541.060(a)(7) - refusing to pay a claim without conducting a reasonable
- investigation

 

federal court pleading standard when conducting the Rule 12(b)(6)-type analysis of an improper joinder claim
in a motion to remand to determine if the plaintiff has stated a claim against a nondiverse defendant.").

6 Petree, 2016 WL 3090592, at *3 (quoting Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 570 (2007)).
7 Twombly, 550 U.S. at 555.

8 See Plaintiff's Original Petition at pp. 7.

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However, the courts of this District have found each of these exact allegations insufficient to
support an independent cause of action against adjusters like Oetting, Rekart and Cordero.9
Texas law permits claims adjusters to be held individually liable for violations of the Texas
Insurance Code.10 "But for an adjuster to be held individually liable, [he/she] must have
committed some act that is prohibited by the [Code], not just be connected to an insurance
company's denial of coverage.11 ln other words, an adjuster cannot be held individually liable
for violations of the Texas Insurance Code unless there is an independent injury to the
plaintiffs that is separate from the contractual damages arising from the carrier's alleged breach
of contract.lebsent actual damages, other than the unpaid policy benefits, there is no cause of
action against an adjuster under Chapter 541 of the Texas Insurance Code.13

Here, Plaintiffs Petition includes a group of alleged statutory violations under Chapter 541 of
the Texas Insurance Code against Oetting, Rekart and Cordero, but the Petition fails to explain
how Oetting, Rekart and Cordero’s alleged conduct gave rise to any injury distinct from
unpaid Safeco policy benefits. Instead, the crux of Plaintiffs factual allegations against
Oetting, Rekart and Cordero relate directly to unpaid policy benefits. Plaintiffs factual

allegations against Oetting, Rekart and Cordero repeatedly highlight the

 

See, e.g., Together()I/lr(,`v. Burlington lns. (`o., 2015 WL 11120522, at *3(N.D. Tex. Apr. 22, 2()15) (Means, 'l`.)(holdingthatthe plaintifffailed
to state viable claims against an adjuster under§§541.060(a)(l), (a)(2)(A), (a)(3),(a)(4), and(a)(7)ofthe'[`exas lnsurance Code.

10 Messersmilh v. Natiomvide Mul. Fire Ins. (`o., 10 F.Supp.3d 72l, 724 (N.D. Tex. 2014) (Solis, J.).

11 Id. "[E]ven though an adjuster is a "person" [against whom claims may be asserted] under the insurance Code, an adjuster cannot be held liable for
violation of the Code unless he causes an injury distinguishable from the insurer's actions." Agm'lar v.State I"arm lrloycls, No. 4:15-CV-565-A, 2015
WL 5714654, at *3 (N.D. Tex. Sept. 28, 2015) (McBryde, J.). "ln other words, the adjuster must have committed some act prohibited by the
statute, not just be connected to an insurance company‘s denial of coverage."ld.

12 See, e.g., (`/mrlrr D. Aldous, P(` v. Lugo, No. 3:13-CV-3310-L, 2014 WL 5879216, at *4-6 (N.D. Tex., Nov.
12, 2014) (Lindsay, S.) ("the Texas Supreme Court left no doubt that an independent injury was required to recover under the Texas Insurance Code.").

13 See, e.g., Messersmitlt, 2014 WL 3406686 (finding no reasonable possibility of recovery against an adjuster for, in part, lack of independent
injury).

 

14 See, e.g., Plaintiffs Original Petition at p. 4.

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"improper denial" of policy benefits, largely through a coverage letter issued by Cordero that
set forth Safeco's coverage determination 14 Plaintiffs have not pied any facts demonstrating
an additional and independent injury, meaning Plaintiffs do not have a reasonable possibility
of recovery against Jones under Chapter 541 of the Texas Insurance Code.

(iii) Plaintins Petition also bears a "badge of improper joinder " recognized by this
Court.

Not only have Plaintiffs failed to demonstrate a reasonable possibility of recovery from
Oetting, Rekart and Cordero, but Plaintiffs Petition also bears a "badge of improper joinder"

recognized by some Court.15 In particular, Plaintiffs have no "plausible reason for suing

[Oetting, Rekart and Cordero] other than to defeat diversity jurisdiction."16 There is no
credible reason why a favorable judgment on Plaintiffs claims against Safeco (if warranted)
would fail to afford Plaintiffs full and complete relief. Nor is there any "suggestion that a
recovery by Plaintiffs against Oetting, Rekart and Cordero would provide any financial gain to
Plaintiffs."17 Because the core of Plaintiffs Petition is that Safeco failed to pay what Plaintiffs
feels it is owed under the Safeco’s policy, it is clear that Plaintiffs claims against Oetting,

Rekart and Cordero are intended solely to deprive this Court of jurisdiction.

 

15 See Plascencia v. State Farm Lloyds, Civ. A. 4:14-CV-00524-A, at 14 (N.D. Tex. Sept. 25, 2014) (Mem.
Op.) (McBryde, J.); see also Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F.Supp.3d 721, 724-25
(N.D. Tex. 2014) (Solis, J.).

15 See Plascencia at 15-18.

11 Id. at 16 (quoting Dougherty v. State Farm Lloyds, No. 4:01~CV-611-A, 2001 WL 1041817, at *2 (N.D.
Tex. Aug.30,2001)).

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If it is facially apparent that Plaintiffs claims in this suit exceed $75,000, exclusive of interest,
costs, and attorney's fees, Safeco's burden to establish that the amount in controversy exceeds
this Court's jurisdictional threshold is satisfied.18

Here, Plaintiffs Petition states that Plaintiffs seek to recover over $200,000.19

It is thus facially apparent that Plaintiffs claims exceed this Court's jurisdictional threshold of
$75,000.

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Plaintiffs have failed to demonstrate any reasonable possibility of recovering on the claims
asserted against Oetting, Rekart and Cordero. Accordingly, Oetting, Rekart and Cordero’s
citizenship should be disregarded for purposes of determining diversity. Because diversity of
citizenship exists between Plaintiffs and Safeco, and the amount in controversy in this lawsuit
exceeds $75,000, removal is proper.
Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be filed with the
clerk of the District Clerk of Dallas County, Texas promptly after the filing of this Notice.
As required by 28 U.S.C. § 1446(a), and Local Rule 81.1, a copy of each of the following are
attached to (or filed with) this Notice:

a. an index of all documents that clearly identifies each document and

indicates the date the document was filed in state court;

 

is Allen v. R&H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1999).

19 Plaintiffs Original Petition at p. 2.

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b. a copy of the docket sheet in the state court action;

c. each document filed in the state court action, except discovery material (if
filed on paper, each document must be individually tabbed and arranged in chronological
order according to the state court file date; if filed by electronic means, each document
must be filed as a separate attachment); and

d. a separately signed certificate of interested persons that complies with LR
3.1(c) or 3.2(e).

24. Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice will be promptly
given to all adverse parties.
WHEREFORE, Defendants Safeco Insurance Company of Indiana and Oetting, Rekart
and Cordero’s requests that this action be removed from the 14th District Court of Dallas
County, Texas, to the United States District Court for the Northern District of Texas, Dallas

Division, and that this Court enter such further orders as may be necessary and appropriate

 

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Respectfully submitted,

LAW OFFICES OF DAVID L. CHUMBLEY, P.C.

/

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CHRISTOPHER OETTING AND JOSEPH
REKART

CERTIFICATE OF SERVICE
I hereby certify that on£ a true and correct copy of the foregoing

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instrument was served pursuant to the Federal Rules of Civil Procedure on the following counsel of
record:

Andrew Woellner

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